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                                                    Act No. 255
                                                Public Acts of 2020
                                            Approved by the Governor
                                               December 22, 2020
                                         Filed with the Secretary of State
                                               December 22, 2020
                                       EFFECTIVE DATE: January 1, 2021




                                         STATE OF MICHIGAN
                                        100TH LEGISLATURE
                                      REGULAR SESSION OF 2020

 Introduced by Senator Lucido


          ENROLLED SENATE BILL No. 676
     AN ACT to amend 1893 PA 206, entitled “An act to provide for the assessment of rights and interests, including
 leasehold interests, in property and the levy and collection of taxes on property, and for the collection of taxes
 levied; making those taxes a lien on the property taxed, establishing and continuing the lien, providing for the
 sale or forfeiture and conveyance of property delinquent for taxes, and for the inspection and disposition of lands
 bid off to the state and not redeemed or purchased; to provide for the establishment of a delinquent tax revolving
 fund and the borrowing of money by counties and the issuance of notes; to define and limit the jurisdiction of the
 courts in proceedings in connection with property delinquent for taxes; to limit the time within which actions may
 be brought; to prescribe certain limitations with respect to rates of taxation; to prescribe certain powers and duties
 of certain officers, departments, agencies, and political subdivisions of this state; to provide for certain
 reimbursements of certain expenses incurred by units of local government; to provide penalties for the violation
 of this act; and to repeal acts and parts of acts,” by amending section 78m (MCL 211.78m), as amended by 2014
 PA 501.

                                      The People of the State of Michigan enact:

     Sec. 78m. (1) Not later than the first Tuesday in July immediately succeeding the entry of judgment under
 section 78k vesting absolute title to tax delinquent property in the foreclosing governmental unit, this state may
 exercise the right of first refusal to purchase foreclosed property at the greater of the minimum bid or its fair
 market value by paying that amount to the foreclosing governmental unit if the foreclosing governmental unit is
 not this state. If this state elects not to purchase the property under its right of first refusal and 1 or more
 claimants have filed a claim for remaining proceeds from the foreclosed property under section 78t(2), a city,
 village, township, or city authority may purchase foreclosed property located within that city, village, township,



                                                                                                                 (190)
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 or area of the city authority included in the judgment and subject to sale under this section by paying the
 foreclosing governmental unit the greater of the minimum bid or the fair market value of the property. If this
 state elects not to purchase the property under its right of first refusal and no claimant has filed a claim for
 remaining proceeds from the foreclosed property under section 78t(2), a city, village, township, or city authority
 may purchase the foreclosed property by paying the foreclosing governmental unit the minimum bid. If a city,
 village, township, or city authority does not purchase that property and 1 or more claimants have filed a claim for
 remaining proceeds from the foreclosed property under section 78t(2), the county in which that property is located
 may purchase that property under this section by paying the foreclosing governmental unit the greater of the
 minimum bid or the fair market value of the property. If a city, village, township, or city authority does not
 purchase that property and no claimant has filed a claim for remaining proceeds from the foreclosed property
 under section 78t(2), the county in which the property is located may purchase that property under this section
 by paying the foreclosing governmental unit the minimum bid. If a city, village, township, city authority, or county
 does not purchase that property, 1 or more claimants have filed a claim for remaining proceeds from the foreclosed
 property under section 78t(2), and the property is within the area of a county authority, the county authority may
 purchase the property under this section by paying the foreclosing governmental unit the greater of the minimum
 bid or the fair market value of the property. If a city, village, township, city authority, or county does not purchase
 that property and no claimant has filed a claim for remaining proceeds from the foreclosed property under
 section 78t(2), the county authority in which the property is located may purchase that property under this section
 by paying the foreclosing governmental unit the minimum bid. If property is purchased by a city, village,
 township, city authority, county, or county authority under this subsection, the foreclosing governmental unit
 shall convey the property to the purchasing city, village, township, city authority, county, or county authority
 within 30 days.
     (2) Subject to subsection (1), beginning on the third Tuesday in July immediately succeeding the entry of the
 judgment under section 78k vesting absolute title to tax delinquent property in the foreclosing governmental unit
 and ending on the immediately succeeding first Tuesday in November, the foreclosing governmental unit, or its
 authorized agent, at the option of the foreclosing governmental unit, shall hold 1 or more property sales at 1 or
 more convenient locations at which property foreclosed by a judgment entered under section 78k will be sold by
 auction sale, which may include an auction sale conducted via an internet website. Notice of the time and location
 of a sale must be published not less than 30 days before a sale in a notice publication circulated in the county in
 which the property is located, if there is one. If no notice publication is circulated in that county, publication must
 be made in a notice publication circulated in an adjoining county. Each sale must be completed before the first
 Tuesday in November immediately succeeding the entry of judgment under section 78k vesting absolute title to
 the tax delinquent property in the foreclosing governmental unit. Except as provided in this subsection and
 subsection (5), property must be sold to the person bidding the minimum bid, or if a bid is greater than the
 minimum bid, the highest amount above the minimum bid. The foreclosing governmental unit may sell properties
 individually or may offer 2 or more properties for sale as a group. The minimum bid for a group of properties must
 equal the sum of the minimum bid for each property included in the group. The foreclosing governmental unit
 may adopt procedures governing the conduct of the sale and the payment for conveyance of properties under this
 section and may cancel the sale before the issuance of a deed under this subsection if authorized under the
 procedures. The foreclosing governmental unit shall require full payment at the close of each day’s bidding or by
 a date not more than 21 days after the sale. Before the foreclosing governmental unit conveys a property sold at
 a sale, the purchaser shall provide the foreclosing governmental unit with proof of payment to the local tax
 collecting unit in which the property is located of any property taxes owed on the property at the time of the sale.
 A foreclosing governmental unit shall cancel a sale if unpaid property taxes owed on a property or properties at
 the time of a sale are not paid within 21 days of the sale. If a sale is canceled under this subsection, the foreclosing
 governmental unit may offer the property to the next highest bidder and convey the property to that bidder under
 this subsection, subject to the requirements of this subsection for the highest bidder. Not more than 14 days after
 payment to the foreclosing governmental unit of all amounts required by the highest bidder or the next highest
 bidder under this subsection, the foreclosing governmental unit shall convey the property by deed to the person
 bidding the minimum bid, or if a bid is greater than the minimum bid, the highest amount above the minimum
 bid, or the next highest bidder if the sale to the highest bidder is canceled and the next highest bidder pays the
 amount required under this section to purchase the property. The deed must vest fee simple title to the property
 in the person bidding the highest amount above the minimum bid, unless the foreclosing governmental unit
 discovers a defect in the foreclosure of the property under sections 78 to 78l or the sale is canceled under this
 subsection or subsection (5). If this state is the foreclosing governmental unit within a county, the department of
 treasury is responsible for conducting the sale of property under this subsection and subsections (4) and (5) on
 behalf of this state. Before issuing a deed to a person purchasing property under this subsection or subsection (5),
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 the foreclosing governmental unit shall require the person to execute and file with the foreclosing governmental
 unit an affidavit under penalty of perjury. If the person fails to execute and file the affidavit required by this
 subsection by the date payment for the property is required under this section, the foreclosing governmental unit
 shall cancel the sale. An affidavit under this section must indicate that the person meets all of the following
 conditions:
     (a) The person does not directly or indirectly hold more than a minimal legal interest in any property with
 delinquent property taxes located in the same county as the property.
     (b) The person is not directly or indirectly responsible for any unpaid civil fines for a violation of an ordinance
 authorized by section 4l of the home rule city act, 1909 PA 279, MCL 117.4l, in the local tax collection unit in
 which the property is located.
     (3) For sales held under subsection (2), after the conclusion of that sale, and before any additional sale held
 under subsection (2), a city, village, township, or city authority may purchase any property not previously sold
 under subsection (1) or (2) by paying the foreclosing governmental unit the minimum bid. If a city, village,
 township, or city authority does not purchase that property, the county in which that property is located may
 purchase that property under this section by paying the foreclosing governmental unit the minimum bid. If a city,
 village, township, city authority, or county does not purchase that property and the property is within the area of
 a county authority, the county authority may purchase the property under this section by paying the foreclosing
 governmental unit the minimum bid.
     (4) If property is purchased by a city, village, township, city authority, county, or county authority under
 subsection (3), the foreclosing governmental unit shall convey the property to the purchasing city, village,
 township, city authority, county, or county authority within 30 days.
     (5) All property subject to sale under subsection (2) must be offered for sale at 1 or more sales conducted as
 required by subsection (2). If the foreclosing governmental unit elects to hold more than 1 sale under
 subsection (2), the final sale held under subsection (2) must be held not less than 28 days after the immediately
 preceding sale under subsection (2). At the final sale held under subsection (2), the sale is subject to the
 requirements of subsection (2), except that the minimum bid is not required. However, the foreclosing
 governmental unit may establish a reasonable opening bid at the sale to recover the cost of the sale of the property
 or properties, and the foreclosing governmental unit shall require a person who held an interest in property sold
 under this subsection at the time a judgment of foreclosure was entered against the property under section 78k
 to pay the minimum bid for the property before issuing a deed to the person under subsection (2). If the person
 fails to pay the minimum bid for the property and other amounts by the date required under this section, the
 foreclosing governmental unit shall cancel the sale of the property.
     (6) On or before December 1 immediately succeeding the entry of judgment under section 78k, a list of all
 property not previously sold by the foreclosing governmental unit under this section must be transferred to the
 clerk of the city, village, or township in which the property is located. The city, village, or township may object in
 writing to the transfer of 1 or more properties. On or before December 30 immediately succeeding the entry of
 judgment under section 78k, all property not previously sold by the foreclosing governmental unit under this
 section must be transferred to the city, village, or township in which the property is located, except those
 properties to which the city, village, or township has objected. Property located in both a village and a township
 may be transferred under this subsection only to a village. The city, village, or township may make the property
 available under the urban homestead act, 1999 PA 127, MCL 125.2701 to 125.2709, or for any other lawful
 purpose.
     (7) If property not previously sold is not transferred to the city, village, or township in which the property is
 located under subsection (6), the foreclosing governmental unit shall retain possession of that property. If the
 foreclosing governmental unit retains possession of the property and the foreclosing governmental unit is this
 state, title to the property must vest in the land bank fast track authority created under section 15 of the land
 bank fast track act, 2003 PA 258, MCL 124.765. If the foreclosing governmental unit retains possession of the
 property and the foreclosing governmental unit is not this state, the foreclosing governmental unit may do any of
 the following:
     (a) Transfer the property to a land bank fast track authority created under the land bank fast track act, 2003
 PA 258, MCL 124.751 to 124.774.
     (b) Convey the property pursuant to section 78r.
     (c) Offer the property for sale, including, but not limited to, a subsequent sale under this section.


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     (8) A foreclosing governmental unit shall deposit the proceeds from the sale of property under this section into
 a restricted account designated as the “delinquent tax property sales proceeds for the year ______”. The foreclosing
 governmental unit shall direct the investment of the account. The foreclosing governmental unit shall credit to
 the account interest and earnings from account investments. The foreclosing governmental unit shall use proceeds
 in that account only for the following purposes in the following order of priority:
     (a) For each property that was sold or transferred for an amount equal to or greater than the minimum bid,
 the delinquent tax revolving fund created pursuant to section 87b or 87f by the county in which the property is
 located must be reimbursed for all taxes, interest, penalties, and fees on each property that was transferred or
 sold that year.
     (b) For each property that was sold or transferred for an amount equal to or greater than the minimum bid,
 fees incurred by the foreclosing governmental unit in connection with the forfeiture, foreclosure, sale,
 maintenance, repair, and remediation of foreclosed property and the administration of this act, including costs
 for the defense of title actions and other legal expenses, must be paid up to the amount for which the property
 was sold on a property-by-property basis.
     (c) Payments to claimants of remaining proceeds for the year ordered under section 78t and any other
 payments ordered under section 78t must be paid on a property-by-property basis.
     (d) For each property that was sold or transferred for an amount less than the minimum bid or that was not
 sold or transferred, the delinquent tax revolving fund created pursuant to section 87b or 87f by the county in
 which the property is located must be reimbursed for all taxes, interest, penalties, and fees.
     (e) For each property that was sold or transferred for an amount greater than the minimum bid, fees incurred
 by the foreclosing governmental unit in connection with the forfeiture, foreclosure, sale, maintenance, repair, or
 remediation of foreclosed property or the administration of this act for the year but not paid under subdivision (b)
 must be paid.
     (f) For each property that was sold or transferred for an amount less than the minimum bid or that was not
 sold or transferred, fees incurred by the foreclosing governmental unit in connection with the forfeiture,
 foreclosure, sale, maintenance, repair, or remediation of foreclosed property or the administration of this act,
 including costs for the defense of title actions and other legal expenses, for the year must be paid.
     (g) Any fees incurred by the foreclosing governmental unit in connection with the forfeiture, foreclosure, sale,
 maintenance, repair, or remediation of foreclosed property or the administration of this act, including costs for
 the defense of title actions and other legal expenses, for any prior year that have not been paid or reimbursed
 from a prior year’s delinquent tax property sales proceeds must be paid.
     (h) If the foreclosing governmental unit is this state, any remaining balance must be transferred to the land
 reutilization fund created under section 78n. If the foreclosing governmental unit for a county is this state, not
 later than September 30 of the second calendar year after foreclosure, the department of treasury shall, subject
 to subparagraph (xiii), submit an electronic report to the house and senate committees with jurisdiction over
 taxation that includes, for each county, all of the information described in subparagraphs (i) to (xii), as follows:
     (i) The total number of properties that were ordered foreclosed at the judicial hearing for that foreclosure and
 not redeemed.
     (ii) The sum of the minimum bids for the properties described in subparagraph (i).
     (iii) The total number of properties sold to a governmental entity under subsections (1) and (4).
     (iv) The sum of the minimum bids for the properties described in subparagraph (iii).
     (v) The total amount paid for the properties described in subparagraph (iii).
     (vi) The total number of properties sold under subsections (2) and (5).
     (vii) The sum of the minimum bids for the properties described in subparagraph (vi).
     (viii) The total amount paid for the properties described in subparagraph (vi).
     (ix) The total amount of all taxes, penalties, interest, fees, and costs owed on properties described in
 subsection (1).
     (x) The total amount paid for all properties described in subparagraphs (iii) and (vi).
     (xi) The total amount of remaining proceeds paid to persons holding a legal interest in the property described
 in subparagraphs (iii) and (vi).
     (xii) The remaining net amount after subtracting the amount described in subparagraph (xi) from the
 difference of the amounts described in subparagraphs (x) and (xi).
     (xiii) The reporting requirement provided for in this subdivision does not apply after December 31, 2025.

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     (i) If the foreclosing governmental unit is not this state, not later than September 30 of the second calendar
 year after foreclosure, the foreclosing governmental unit shall, subject to subparagraph (xiii), submit a written
 report to its board of commissioners and the state treasurer identifying any remaining balance and any contingent
 costs of title, environmental remediation, or other legal claims relating to foreclosed property as determined by
 the foreclosing governmental unit. Any remaining balance must be used for costs incurred by the foreclosing
 governmental unit in connection with the forfeiture, foreclosure, sale, maintenance, repair, or remediation of
 foreclosed property, the defense of title actions and other legal expenses, or the administration of this act, or for
 the payment of claims for remaining proceeds or other amounts ordered under section 78t. The report required
 under this subdivision must include, in a form determined by the department of treasury, all of the information
 described in subparagraphs (i) to (xii), as follows:
     (i) The total number of properties that were ordered foreclosed at the judicial hearing for that foreclosure and
 not redeemed.
     (ii) The sum of the minimum bids for the properties described in subparagraph (i).
     (iii) The total number of properties sold to a governmental entity under subsections (1) and (4).
     (iv) The sum of the minimum bids for the properties described in subparagraph (iii).
     (v) The total amount paid for the properties described in subparagraph (iii).
     (vi) The total number of properties sold under subsections (2) and (5).
     (vii) The sum of the minimum bids for the properties described in subparagraph (vi).
     (viii) The total amount paid for the properties described in subparagraph (vi).
     (ix) The total amount of all taxes, penalties, interest, fees, and costs owed on properties described in
 subsection (1).
     (x) The total amount paid for all properties described in subparagraphs (iii) and (vi).
     (xi) The total amount of remaining proceeds paid to persons holding a legal interest in the property described
 in subparagraphs (iii) and (vi).
     (xii) The remaining net amount after subtracting the amount described in subparagraph (xi) from the
 difference of the amounts described in subparagraphs (x) and (xi).
     (xiii) The reporting requirement provided for in this subdivision does not apply after December 31, 2025.
     (9) Two or more county treasurers of adjacent counties may elect to hold a joint sale of property as provided in
 this section. If 2 or more county treasurers elect to hold a joint sale, property may be sold under this section at a
 location outside of the county in which the property is located. The sale may be conducted by any county treasurer
 participating in the joint sale or by an authorized agent of each county treasurer participating in the sale. A joint
 sale held under this subsection may include or be an auction sale conducted via an internet website.
     (10) The foreclosing governmental unit shall record a deed for any property transferred under this section with
 the county register of deeds. The foreclosing governmental unit may charge a fee in excess of the minimum bid
 and any sale proceeds for the cost of recording a deed under this subsection.
     (11) For property transferred to this state, a city, a village, a township, a city authority, a county, or a county
 authority under subsection (1), a city, village, or township under subsection (6), or retained by a foreclosing
 governmental unit under subsection (7), all taxes due on the property as of the December 31 following the transfer
 or retention of the property are canceled effective on that December 31 and the property is exempt from the
 collection of taxes under this act while held by the city, village, township, city authority, county, county authority,
 or foreclosing governmental unit.
     (12) For property sold, transferred, or retained under this section, all liens for costs of demolition, safety
 repairs, debris removal, or sewer or water charges due on the property as of the December 31 immediately
 succeeding the sale, transfer, or retention of the property are canceled effective on that December 31. This
 subsection does not apply to liens recorded by the department of environment, Great Lakes, and energy under
 this act or the land bank fast track act, 2003 PA 258, MCL 124.751 to 124.774.
     (13) If property foreclosed under section 78k and held by or under the control of a foreclosing governmental
 unit is a facility as defined under section 20101 of the natural resources and environmental protection act, 1994
 PA 451, MCL 324.20101, before the sale or transfer of the property under this section, the property is subject to
 all of the following:
     (a) Upon reasonable written notice from the department of environment, Great Lakes, and energy, the
 foreclosing governmental unit shall provide access to the department of environment, Great Lakes, and energy,
 its employees, contractors, and any other person expressly authorized by the department of environment, Great
 Lakes, and energy to conduct response activities at the foreclosed property. Reasonable written notice under this
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 subdivision may include, but is not limited to, notice by electronic mail, if the foreclosing governmental unit
 consents to notice by electronic mail before the provision of notice by the department of environment, Great Lakes,
 and energy.
     (b) If requested by the department of environment, Great Lakes, and energy to protect public health, safety,
 and welfare or the environment, the foreclosing governmental unit shall grant an easement for access to conduct
 response activities on the foreclosed property as authorized under chapter 7 of article II of the natural resources
 and environmental protection act, 1994 PA 451, MCL 324.20101 to 324.20302.
     (c) If requested by the department of environment, Great Lakes, and energy to protect public health, safety,
 and welfare or the environment, the foreclosing governmental unit shall place and record deed restrictions on the
 foreclosed property as authorized under chapter 7 of article II of the natural resources and environmental
 protection act, 1994 PA 451, MCL 324.20101 to 324.20302.
     (d) The department of environment, Great Lakes, and energy may place an environmental lien on the
 foreclosed property as authorized under section 20138 of the natural resources and environmental protection act,
 1994 PA 451, MCL 324.20138.
     (14) If property foreclosed under section 78k and held by or under the control of a foreclosing governmental
 unit is a facility as defined under section 20101 of the natural resources and environmental protection act, 1994
 PA 451, MCL 324.20101, before the sale or transfer of the property under this section, the department of
 environment, Great Lakes, and energy shall request and the foreclosing governmental unit shall transfer the
 property to the state land bank fast track authority created under section 15 of the land bank fast track act, 2003
 PA 258, MCL 124.765, if all of the following apply:
     (a) The department of environment, Great Lakes, and energy determines that conditions at a foreclosed
 property are an acute threat to the public health, safety, and welfare, to the environment, or to other property.
     (b) The department of environment, Great Lakes, and energy proposes to undertake or is undertaking
 state-funded response activities at the property.
     (c) The department of environment, Great Lakes, and energy determines that the sale, retention, or transfer
 of the property other than under this subsection would interfere with response activities by the department of
 environment, Great Lakes, and energy.
     (15) A person convicted for executing a false affidavit under subsection (5) is prohibited from bidding for a
 property or purchasing a property at any sale under this section.
     (16) As used in this section:
     (a) “City authority” means a land bank fast track authority created under section 23(5) of the land bank fast
 track act, 2003 PA 258, MCL 124.773.
     (b) “County authority” means a land bank fast track authority created under section 23(4) of the land bank
 fast track act, 2003 PA 258, MCL 124.773.
     (c) “Minimum bid” is the minimum amount established by the foreclosing governmental unit for which
 property may be sold or transferred under subsections (1) to (3). The minimum bid must include all of the
 delinquent taxes, interest, penalties, and fees due on the property, and may include any additional expenses
 incurred by the foreclosing governmental unit in connection with the forfeiture, foreclosure, maintenance, repair,
 or remediation of the property or the administration of this act for the property, including, but not limited to,
 foreclosure avoidance, mailing, publication, personal service, legal, personnel, outside contractor, and auction
 expenses.

    Enacting section 1. Section 78m of the general property tax act, 1893 PA 206, MCL 211.78m, as amended by
 this amendatory act, takes effect January 1, 2021.

    Enacting section 2. This amendatory act does not take effect unless Senate Bill No. 1137 of the
 100th Legislature is enacted into law.

     Enacting section 3. This amendatory act is curative and intended to codify and give full effect to the right of a
 former holder of a legal interest in property to any remaining proceeds resulting from the foreclosure and sale of
 the property to satisfy delinquent real property taxes under the general property tax act, 1893 PA 206, MCL 211.1
 to 211.155, as recognized by the Michigan supreme court in Rafaeli, LLC v Oakland County, docket no. 156849,
 consistent with the legislative findings and intent under section 78 of the general property tax act, 1893 PA 206,
 MCL 211.78.

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    This act is ordered to take immediate effect.




                                                                      Secretary of the Senate




                                                        Clerk of the House of Representatives




 Approved___________________________________________




 ____________________________________________________
                                        Governor




                                                                                           7
